1/18/2017 Case 4:17-cV-00031-RMW-€EJ‘G€OGWW/CBE9J"/QPH'GG_®{U[E84/El7 Page 1 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

Civil Cover Sheet

This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information
contained herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is
authorized for use o_nly in the District of Arizona.

The completed cover sheet must be printed directly to PDF and filed as an attachment to the
Complaint or Notice of Removal.

 

Lorna Sweet ; Premier Management

Plaintiff(s): Armida Fimbres Defendant(s): Services ; J ames J. Stearns ; Edna
Stearns
County of Residence: Pima County of Residence: Pima

County Where Claim For Relief Arose: Pima

Plaintiffs Atty(s): Defendant's Atty(s):

Nina Rabin Robert Truman Hungerford
Workers' Rights Clinic, UA College of Law 123 S. Stone, #16

1145 N Mountain Ave Tucson, Arizona 85701
Tucson, Arizona 85745 520-869-8909

520-621-9206

 

IFP REQUESTED

II. Basis of Jurisdiction: 3. Federal Question (U.S. not a party)

III. Citizenship of Principal
Parties (Diversity Cases Only)

Plaintiff:- N/A
Defendant:- N/A

IV. Origin : 1. Original Proceeding
V. Nature of Suit: 710 Fair Labor Standards Act
VI.Cause of Action: 29 U.S.C. § 201 et seq

VII. Reguested in Complaint
Class Action: No

Dollar Demand:
Jury Demand: Yes

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1/18/2017 Case 4:17-cV-00031-RMW-€EJ‘G€OGWW/CBE9J"/QPH'GG_®{U[E84/El7 Page 2 of 2
VIII. This case is not related to another case.

 

Signature: /s/ Nina Rabin
Date: 01/18/2017

If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser
and change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

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2/2

